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                                                                  3                                     UNITED STATES DISTRICT COURT
                                                                  4                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                  7   ELASTICSEARCH, INC., a Delaware                   Case No.: 4:19-CV-05553-YGR
                                                                      corporation, ELASTICSEARCH B.V., a
                                                                  8   Dutch Corp.                                       ORDER VACATING DATES AND SETTING
                                                                                                                        COMPLIANCE DEADLINE
                                                                  9                Plaintiffs,
                                                                 10          vs.
                                                                 11   FLORAGUNN GMBH, a German Corp.,
                                                                 12                 Defendant.
                               Northern District of California
United States District Court




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                                                                 14          The parties have notified the Court that they are in the process of settling the above-captioned
                                                                 15   case. A compliance deadline of 9:01 a.m. on Friday, September 9, 2022 is set.
                                                                 16          No later than Friday, September 2, 2022, the parties shall file either (a) a Stipulation of
                                                                 17   Dismissal or (b) a one-page JOINT STATEMENT setting forth an explanation regarding the failure to
                                                                 18   comply. If compliance is complete, the compliance deadline will be taken off calendar.
                                                                 19          IT IS SO ORDERED.
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                                                                      Dated: June 27, 2022
                                                                                                                           ____________________________________
                                                                 22                                                            YVONNE GONZALEZ ROGERS
                                                                                                                           UNITED STATES DISTRICT COURT JUDGE
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